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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                 CASE NO.:

  LOGARO LLC,

  Plaintiff,

   v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

  Defendants.



                   COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         Plaintiff, LOGARO LLC (“Plaintiff”), by and through its undersigned counsel, introduces this

 complaint against Defendants, the individuals, partnerships, and unincorporated associations set forth

 on Schedule “A” hereto (collectively “Defendants” – which Schedule “A” will be filed as an exhibit

 under seal), who continue to promote, sell, and distribute goods bearing counterfeits and confusingly

 identical or similar imitations of Plaintiff's intellectual property within this district through various

 Internet-based e-commerce stores using the seller identities as set in the seller IDs (“Seller IDs”), and

 in support of its claims, alleges as follows:

                                    SUMMARY OF THE ACTION

         1.     Plaintiff brings this action for federal trademark counterfeiting and infringement,

 false designation of origin, common law unfair competition, and common law trademark

 infringement pursuant to 15 U.S.C. §§ 1114, 1116, and 1125(a), The All Writs Act, 28 U.S.C. §

 1651(a), and Florida’s common law.



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                                 SUBJECT MATTER JURISDICTION

        2.         This court maintains original subject matter jurisdiction over this action under 28

  U.S.C. §§ 1331 and 1338.

        3.         This court also maintains subject matter jurisdiction over this action pursuant to 15

  U.S.C. § 1121.

        4.         Further, this Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over

 the state law claims because those claims are so related to the federal claims that they form part of

 the same case or controversy.

                                      PERSONAL JURISDICTION

         5.      Defendants are subject to personal jurisdiction in this district because they

 intentionally direct their activities and conduct business with consumers across the United States,

 including in the state of Florida and this district. They do so through e-commerce platforms, including

 Amazon.com, Temu.com, Etsy.com, Alibaba.com, AliExpress.us, Wish.com, Ebay.com, Shein.com,

 and Walmart.com, which are accessible in Florida and operate under their Seller IDs.

         6.      Defendants are subject to personal jurisdiction in this district because Defendants

 directed their illegal activities to the forum state, causing Plaintiff injury in the forum. Plaintiff’s

 claims in this complaint arise directly from those activities.

       7.        Defendants are subject to personal jurisdiction in this district under Federal Rule of

Civil Procedure 4(k)(2) because (a) defendants are not subject to jurisdiction in any state court of general

jurisdiction, and (b ) exercising jurisdiction is consistent with the US Constitution and applicable US

law.

                                                  VENUE

         8.      Venue is proper in this court under 28 U.S.C. § 1391(b)(3) because Defendants are

 subject to the court’s personal jurisdiction and are non-residents of the United States. Therefore, there
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 is no district where an action may otherwise be brought.

         9.      Venue is proper in this court under 28 U.S.C. § 1391 because Defendants are, upon

 information and belief, aliens who engage in infringing activities, causing harm within this district

 by advertising, offering to sell, selling and/or shipping infringing products to consumers in the district.

                   JOINDER OF DEFENDANTS IN THIS ACTION IS PROPER

        10.      Defendants are the individuals, partnerships, and unincorporated associations set forth

  on Schedule “A.”

         11.     Defendants promote, sell, offer for sale, and distribute goods bearing counterfeits and

 confusingly similar imitations of Plaintiff's intellectual property within this district.

         12.     Joinder of all Defendants is allowed under the permissive party joinder rule of Fed. R.

 Civ. P. 20(a)(2). This rule permits the inclusion of persons as Defendants in an action when any right

 to relief is claimed against them jointly, severally, or in the alternative, in relation to the same

 transaction, occurrence, or series of transactions or occurrences and when a common question of law

 or fact will arise for all Defendants in the action.

         13.     The court permits the joinder of the multiple defendants listed in Schedule "A" because

 the Plaintiff asserts rights to relief against these Defendants jointly, severally, or in the alternative,

 arising from the same transaction, occurrence, or series of transactions or occurrences, and common

 questions of law or fact will arise in the action.Joinder of the multiple defendants listed in Schedule

 “A” serves the interests of convenience and judicial economy, leading to a reasonable, timely, and

 less expensive resolution for Plaintiff, Defendants, and this Court.

         14.     Plaintiff’s claims against the multiple Defendants listed in Schedule “A” are

 transactionally related. The Defendants, primarily non-citizens from China, engage in similar efforts

 to conceal their identities and follow similar patterns of infringement, stemming from identical or

 related transactions or occurrences, with common facts applicable to all Defendants.
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                                            THE PLAINTIFF

          15.   Plaintiff is a company created under the laws of the United States of America.

          16.   Plaintiff is a company in the business of promoting and selling ink pads for seals under

 its registered trademark.

          17.     Plaintiff’s products are sold through authorized retailers.

          18.     Plaintiff offers for sale and sells its products within the state of Florida, including this

 district, and throughout the United States.

          19.     Plaintiff suffers continuous, daily, and sustained violations of its intellectual property

 rights due to counterfeiters and infringers, such as Defendants herein.

          20.     Plaintiff remains harmed, the consuming public remains confused, and the

 Defendants earn substantial profits due to their infringing conduct.

          21.     Plaintiff invested substantial resources, including legal and investigative fees, to

 combat the harm caused by the combined actions of Defendants and others engaging in similar

 infringing conduct.

          22.     The rise in online infringement has forced companies, like Plaintiff, to spend

 considerable time and money protecting consumers and themselves from the negative impacts of

 intellectual property infringement, such as consumer confusion and the weakening of Plaintiff’s

 brand.

                               PLAINTIFF’S TRADEMARK RIGHTS

          23.   Plaintiff owns of all rights in and to the trademark Ser. No. 98-095,801, which is valid

 and registered (Reg. No. 7,461,048) on the Principal Register of the United States Patent and

 Trademark Office (hereinafter, the "Plaintiff Mark" or “Mark”).

          24.   The Mark is classified as a Class 16 mark used in the manufacturing, sale, and

 distribution of high-quality ink pads for seals.
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        25.     Plaintiff continuously utilizes the Mark in interstate commerce to identify and

 distinguish Plaintiff's high-quality ink pads.

         26.    The Mark represents Plaintiff's quality, reputation, and goodwill and has never been

 abandoned.

        27.     The Plaintiff registered the Mark on July 30, 2024, and has used it in commerce since

 May 19, 2016. The Plaintiff has invested substantial time, money, and resources in developing,

 advertising, and promoting the Mark.

        28.     Further, Plaintiff extensively utilized, advertised, and promoted Mark in the United

 States and associated Mark with the sale of high-quality ink pads. The Plaintiff invested significant

 funds in promoting the Plaintiff Mark and the products that feature it.

        29.     Due to Plaintiff's efforts, consumers easily recognize merchandise sold under Plaintiff

 Mark as high-quality ink pads associated with Plaintiff. As a result, Plaintiff Mark acquired secondary

 meaning as an identifier of high-quality ink pads.

        30.     Plaintiff carefully monitors the use of the Plaintiff Mark and has never assigned,

 authorized, or licensed the Plaintiff Mark to any Defendants.

        31.     Plaintiff extensively advertises and promotes genuine ink pads sold under the Plaintiff

 Mark through the Internet. The Plaintiff invests considerable funds in online marketing, including

 search engine optimization (SEO) strategies. These strategies enable the Plaintiff to effectively and

 legitimately inform consumers about the value associated with the Plaintiff’s brand and the products

 offered under it.

                                            DEFENDANTS

        32.     Defendants may have an action filed against them, pursuant to Fed. R. of Civ. P. 17(b).

        33.     Defendants consist of individuals and/or business entities with an unclear composition.

 Based on available information, each Defendant either resides in or operates from foreign

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 jurisdictions, redistributes products from the same or similar sources in those areas, and/or ships their

 goods to shipping and fulfillment centers in the United States for redistribution.

         34.       Defendants continuously conduct business in Florida but have failed to appoint an

 agent for service of process. Upon information and belief, Defendants have registered, established,

 purchased, and maintained their Seller IDs. Under the Seller IDs, Defendants direct business activities

 toward consumers throughout the United States, including within this district.

         35.       Defendants have been both past and present critical players in the sale of products that

 bear counterfeits and infringements of Plaintiff’s intellectual property rights, as outlined in this

 document, operating under at least the Seller IDs.

         36.   Defendants participate in unfair competition against the Plaintiff by advertising, offering,

 and selling goods that feature counterfeits and infringements of the Plaintiff's intellectual property

 rights to consumers in the United States and this district via e-commerce. They use at least the Seller

 IDs and additional names, websites, or seller identification aliases that remain unknown to the Plaintiff.

         37.   Defendants purposefully direct their illegal activities toward consumers in the State of

 Florida through advertising, offering to sell, selling, and/or shipping counterfeit and infringing goods

 into the State.

         38.   Defendants engage in unfair competition with the Plaintiff by advertising, selling, and

 offering goods that contain counterfeits and infringements of the Plaintiff's intellectual property rights

 to consumers in the United States and this district through e-commerce. They use at least the Seller

 IDs, as well as other names, websites, or seller identification aliases that the Plaintiff has not yet

 identified.

         39.   Upon information and belief, many Defendants registered and maintained their Seller

 IDs solely to engage in illegal counterfeiting activities.

         40.   Based on available information, Defendants will likely keep registering or obtaining new
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 seller identification aliases to sell and offer counterfeits and infringements of the Plaintiff’s intellectual

 property rights unless they are preliminarily and permanently enjoined. They utilize their e-commerce

 businesses to violate the intellectual property rights of the Plaintiff and others.

            41.   Defendants rely on their business names, such as Seller IDs, payment accounts, and other

 alias seller identification names or e-commerce stores, to sell counterfeits and infringe upon Plaintiff’s

 intellectual property rights. These Seller IDs play a crucial role in their online operations, serving as

 one of the many methods the Defendants employ to further their counterfeiting and infringement

 activities, causing harm to the Plaintiff.

            42.   The Defendants employ unique seller store names, product labels, and descriptive

 information that include one or more of the Plaintiff’s names, titles, and content. This content is

 indexed by search engines, allowing it to compete directly with the Plaintiff for prominence in search

 results.

            43.   Defendants’ individual seller store appearances through e-commerce in search engine

 results thwart Plaintiff’s efforts to educate consumers about the value of products sold under Plaintiff.

            44.   Defendants leverage counterfeits and infringements of the Plaintiff’s intellectual

 property rights to attract online consumer traffic to their individual seller stores operating under the

 Seller IDs. This practice enhances the value of their Seller IDs while diminishing the size and value of

 the Plaintiff’s legitimate marketplace and intellectual property rights, all at the Plaintiff’s expense.

            45.   By selling and offering counterfeit and infringing products, Defendants directly and

 unfairly undermine Plaintiff’s economic interests in the state of Florida, resulting in harm and damage

 to Plaintiff within this jurisdiction.

            46.   Defendants' actions’ inevitable and intended consequence consists of the degradation

 and destruction of the goodwill linked to Plaintiff’s intellectual property rights and the dismantling of

 the legitimate market sector in which Plaintiff operates.

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         47.    Upon information and belief, and always relevant hereto, Defendants maintained actual

 and/or constructive knowledge of Plaintiff’s intellectual property rights, including Plaintiff’s exclusive

 right to use and license such intellectual property rights for commercial purposes.

                             DEFENDANTS’ INFRINGING ACTIVITIES

          48.      Defendants continue to promote, advertise, distribute, and sell copies (of lower

 quality) of Plaintiff’s products in interstate commerce that constitute counterfeits and violate

 Plaintiff’s intellectual property rights (the “Counterfeit Goods”) through e-commerce operating under

 the Seller IDs.

          49.      Specifically, Defendants use the Plaintiff Mark, without authorization, to initially

 attract online customers and attract them to their marketplaces through e-commerce under Seller IDs.

          50.      Defendants use identical copies of Plaintiff Mark for goods of different quality.

          51.      Plaintiff made extensive and continuous use of the Mark before Defendants introduced

 counterfeit and confusingly similar imitations of Plaintiff’s merchandise.

          52.      Based on information and belief, the quality of the Defendants’ Counterfeit Goods is

 significantly inferior to that of the Plaintiff’s authentic products. The Defendants intentionally use,

 promote, and advertise substantial quantities of their Counterfeit Goods, knowing that consumers will

 likely confuse them with the genuine high-quality and unique ink pads sold by the Plaintiff, despite

 being aware that they lack authorization to use the Plaintiff Mark.

          53.      The overall impact of the Defendants’ actions will likely confuse consumers during

 the initial interest phase, at the time of sale, and after the purchase. Consumers may believe that all

 goods offered for sale in the Defendants’ individual seller stores through e-commerce are authentic

 products originating from, associated with, and approved by Plaintiff.

          54.      Defendants advertise their online marketplaces, including their counterfeit goods

 offered for sale, to the public through individual seller stores through e-commerce operating under
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 Seller IDs.

          55.     While advertising their stores and products, Defendants misuse the Plaintiff Mark

 without Plaintiff's consent, acting unlawfully and improperly.

          56.     Most Defendants reportedly use similar advertising and marketing strategies as part of

 their counterfeiting scheme, which heavily relies on Plaintiff Mark's illegal use of counterfeits and

 infringements.

          57.     The Defendants specifically use counterfeits and infringements of the Plaintiff Mark

 to make their individual seller stores on online e-commerce platforms appear more relevant and

 appealing to consumers searching for the Plaintiff’s products and those of its competitors.

          58.     Through their actions, the Defendants help establish and sustain an illegal marketplace

 in the e-commerce space that operates alongside the legitimate market for the Plaintiff’s authentic

 goods.

          59.     The Defendants consistently harm the Plaintiff and consumers by (a) preventing the

 Plaintiff and others from fairly competing for visibility in search engine results, reducing the online

 presence of the Plaintiff’s genuine goods; (b) diminishing the goodwill associated with the Plaintiff;

 and (c) increasing the Plaintiff’s marketing costs and efforts to educate consumers online.

          60.     Defendants simultaneously engage in counterfeiting and infringement, targeting

 consumers in a way that causes collective harm in this district and across the United States.

          61.     As a result, Defendants defraud Plaintiff and the consuming public for Defendants’

 own benefit.

          62.     Defendants use the Plaintiff Mark—including promoting, reproducing, distributing,

 selling, and offering their Counterfeit Goods—without the Plaintiff's consent or authorization.

          63.     Defendants knowingly and intentionally engage in the illegal counterfeiting and

 infringing activities described above, or they do so with reckless disregard for Plaintiff’s licensed

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  trademarks, aiming to profit from Plaintiff’s goodwill and reputation.

           64.   If the Court does not issue a preliminary and permanent injunction against the

  Defendants’ intentional counterfeiting and infringement, both Plaintiff and consumers will continue

  to suffer economic harm.

           65.   Defendants’ infringing activities cause consumers confusion, deception, and

  misleading before, during, and after the time of purchase.

           66.   Defendants’ wrongful actions create a false impression that misleads customers, the

  public, and the trade into believing a connection exists between the Plaintiff’s genuine goods and the

  Defendants’ Counterfeit Goods, even though no such connection exists.

           67.   Defendants use their payment and financial accounts, including those listed in

  Schedule “A,” to accept and deposit profits from counterfeiting, infringement, and unfair competition

  related to their Seller IDs in e-commerce. Defendants will likely transfer or hide their assets to evade

  any monetary judgment awarded to the Plaintiff.

           68.   Plaintiff continues suffering irreparable injury and substantial damages due to

  Defendants’ unauthorized and infringing activities of using Plaintiff’s Mark.

           69.   If the Court does not issue a preliminary and permanent injunction against the

  Defendants' counterfeiting, infringement, and unfair competition, the Plaintiff and consumers will

  continue to suffer harm.

           70.   Plaintiff suffers harm directly and proximately caused by Defendants’ wrongful

  reproduction, use, advertisement, promotion, and sale of their Counterfeit Goods.

           71.   Defendants sold and continue to sell infringing products in competition directly with

  Plaintiff’s genuine products.

           72.   Plaintiff should not have any competition from Defendants because Plaintiff never

  authorized Defendants to use the Plaintiff Mark.
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            73.    Plaintiff has no adequate remedy at law.

                   COUNT I – TRADEMARK INFRINGEMENT (15 U.S.C. § 1114)

            74.    Plaintiff incorporates the allegations of paragraphs 1 through 74 of this complaint

  as if fully set forth herein.

            75.    This is a lawsuit for trademark counterfeiting and infringement against the Defendants

  for their use of counterfeit and confusingly similar imitations of the Plaintiff Mark in commerce

  related to the promotion, advertisement, distribution, and sale of Counterfeit Goods.

            76.    Defendants promote, advertise, sell, offer for sale, and distribute goods that feature

  counterfeits and infringements of the Plaintiff Mark.

            77.    Defendants repeatedly infringe the Plaintiff Mark and encourage others to use it to

  advertise, promote, sell, and offer counterfeit and infringing goods.

            78.    Defendants’ simultaneous counterfeiting and infringement create confusion, mistakes,

  and deception among industry members and consumers about the origin and quality of their

  Counterfeit Goods.

            79.    Defendants’ illegal actions have caused ongoing, unmeasurable harm to the Plaintiff

  and unjustly enriched themselves with profits at the Plaintiff's expense.

            80.    Defendants' illegal actions described above amount to counterfeiting and infringement

  of the Plaintiff Mark, violating the Plaintiff's licensed rights under § 32 of the Lanham Act, 15 U.S.C.

  § 1114.

            81.    Plaintiff has suffered and will continue to suffer irreparable harm and damages from

  Defendants' activities unless the Court issues a preliminary and permanent injunction against them.

            82.    If this Court does not preliminarily and permanently enjoin Defendants, Defendants

  will continue to profit from their illegal activities wrongfully.

               COUNT II – FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))
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            83.   Plaintiff incorporates the allegations of paragraphs 1 through 74 of this Complaint

  as if fully set forth herein.

            84.   Based on available information, the Defendants have extensively advertised and sold

  their Counterfeit Goods featuring copies of the Plaintiff Mark across the United States through e-

  commerce platforms, including Amazon.com, Temu.com, Etsy.com, Alibaba.com, AliExpress.us,

  Wish.com, Ebay.com, Shein.com, and Walmart.com.

            85.   Defendants’ counterfeit goods, which feature copies of the Plaintiff Mark, appear

  almost identical to the Plaintiff’s authentic products.

            86.   Defendants’ Counterfeit Goods vastly differ in quality from Plaintiff’s goods, as

  Defendants’ goods are of much lower quality.

            87.   Defendants’ activities continue to distort the public regarding the origin or

  sponsorship of their Counterfeit Goods.

            88.   Defendants use false designations of origin, misleading descriptions, and

  representations in their advertising, sales, and offers of their Counterfeit Goods. This includes words,

  symbols, and trade dress that falsely describe their products, knowingly allowing these goods to

  enter the market, which harms the Plaintiff.

            89.   Defendants authorize infringing uses of the Plaintiff Mark when promoting

  counterfeit and infringing branded goods.

            90.   Defendants misled consumers by claiming that the Counterfeit Goods they advertised

  and sold were authentic, non-infringing products.

           91. Defendants unfairly compete with Plaintiff and others by using counterfeits and

  infringements to gain visibility in search engine and social media results. This action robs the Plaintiff




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  of essential marketing opportunities and reduces the visibility of the Plaintiff's authentic products

  online and on social media platforms.

            92.   Defendants’ actions violate Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a).

            93.   Plaintiff has no adequate remedy at law and suffers indivisible injury and damage

  caused by the Defendants’ conduct.

            94.   Absent an entry of an injunction by this Court, Defendants will continue to benefit

  from Plaintiff wrongfully, and Plaintiff will continue to suffer irreparable injury to its goodwill and

  business reputation and monetary damages.

                       COUNT III – COMMON LAW UNFAIR COMPETITON

            95.     Plaintiff incorporates the allegations of paragraphs 1 through 74 of this Complaint

  as if fully set forth herein.

            96.     This lawsuit is against the Defendants for promoting, advertising, distributing,

  selling, or offering goods that bear marks nearly identical to the Plaintiff Mark, violating Florida's

  common law on unfair competition. Defendants’ activities complained of herein constitute unfair

  methods of competition.

            97.     Specifically, the Defendants promote, advertise, sell, offer for sale, and distribute

  goods that use or display counterfeits and infringements of the Plaintiff Mark.

            98.     Defendants use counterfeits and infringements of Plaintiff Mark to unfairly compete

  with Plaintiff and others for (a) visibility in search engine and social media results across various

  search terms and (b) overall visibility on the Internet.

            99.     Defendants’ infringing activities cause confusion, mistake, and deception among

  trade members and the general consuming public regarding the origin and quality of Defendants’

  individual seller stores.


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           100.     Plaintiff has no adequate remedy at law and suffers irreparable injury and

  damages due to Defendants’ actions.

                    COUNT IV – COMMON LAW TRADEMARK INFRINGEMENT

           101. Plaintiff incorporates the allegations of paragraphs 1 through 74 of this Complaint if

  fully set forth herein.

           102. This is an action for common law trademark infringement against Defendants based

  on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods bearing the

  Plaintiff mark.

           103. Plaintiff owns all common law rights in and to the Plaintiff Mark.

           104. Defendants, upon information and belief, promote and otherwise advertise, distribute,

  offer for sale, and sell goods bearing Plaintiff Mark.

           105. Defendants’ infringing activities cause confusion, mistake, and deception among trade

  members and the general consuming public regarding the origin and quality of Defendants’

  Counterfeit Goods bearing Mark.

           106. Plaintiff has no adequate remedy at law and is suffering damages and irreparable injury

  because of the Defendants’ actions.

                                         REQUEST FOR RELIEF

          WHEREFORE, Plaintiff demands judgment on all Counts of this Complaint and an award of

  equitable relief and monetary relief against Defendants as follows:

           (i) Grant temporary, preliminary, and permanent injunctions under 15 U.S.C. § 1116 and

                     Federal Rule of Civil Procedure 65 to prevent the Defendants, along with their

                     agents, employees, and anyone working with them, from manufacturing, importing,

                     advertising, promoting, distributing, selling, or offering Counterfeit Goods. This

                     injunction should also prohibit them from infringing, counterfeiting, or diluting the
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               Plaintiff Mark, using the Plaintiff Mark or any similar marks with unauthorized

               goods, and employing any logos, trade names, or trademarks that falsely advertise

               their goods or services as being sponsored, authorized, endorsed, or associated with

               the Plaintiff. Furthermore, the Defendants should be barred from misrepresenting

               their connection to the Plaintiff, which could mislead consumers into believing their

               goods or services are endorsed or approved by the Plaintiff. They should not use

               any reproduction, counterfeit, or imitation of the Plaintiff Mark in promoting or

               selling their goods, nor affix false descriptions or representations that could confuse

               consumers about their goods being associated with the Plaintiff. Additionally, the

               Defendants must refrain from engaging in search engine optimization strategies that

               incorporate imitations of the Plaintiff’s name or trademarks and from competing

               unfairly with the Plaintiff.

         (ii) Issue a Temporary Restraining Order, along with preliminary and permanent

               injunctions under 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s inherent

               authority. This will prohibit the Defendants and any third parties with actual notice

               of the injunction from participating in or providing financial or technical support to

               the Defendants in connection with the sale and distribution of non-genuine goods

               that bear or use counterfeits of the Plaintiff Mark. Additionally, the Court should

               order, upon the Plaintiff’s request, that Amazon.com, Temu.com, Etsy.com,

               Alibaba.com, AliExpress.us, Wish.com, Ebay.com, Shein.com, and Walmart.com

               operators or administrators, who are notified of the injunction, disable or stop

               facilitating access to the Seller IDs and any other seller names controlled by the

               Defendants that are used to market, offer for sale, or sell goods that infringe on the

               Plaintiff Mark.
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         (iii) Issue an Order under 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s inherent

                authority that requires any messaging service, along with Amazon.com, Temu.com,

                Etsy.com, Alibaba.com, AliExpress.us, Wish.com, Ebay.com, Shein.com, and

                Walmart.com operators, administrators, registrars, and top-level domain (TLD)

                registries, to identify any email addresses linked to the Defendants’ Seller IDs upon

                the Plaintiff's request and after receiving notice of the Court’s injunction.

         (iv) Issue an Order under 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s inherent

                authority that directs Amazon.com, Temu.com, Etsy.com, Alibaba.com,

                AliExpress.us, Wish.com, Ebay.com, Shein.com, and Walmart.com operators and

                administrators upon the Plaintiff's request and after receiving notice of the Court's

                injunction, to permanently remove all listings and images of goods that bear or use

                counterfeits or infringements of the Plaintiff Marks from various platforms,

                including direct, group, seller product management, vendor product management,

                and brand registry platforms. This includes listings specified in Schedule “A” and

                any related listings associated with Defendants' Seller IDs or any other aliases used

                to promote or sell counterfeit goods.

         (v)    Issue an Order under 28 U.S.C. § 1651(a), The All Writs Act, and the Court’s

                inherent authority that directs the operators and administrators of Amazon.com,

                Temu.com,     Etsy.com,     Alibaba.com,    AliExpress.us,    Wish.com,     Ebay.com,

                Shein.com, and Walmart.com, upon the Plaintiff's request and after receiving notice

                of the Court's injunction, to immediately stop fulfilling and secure all goods from

                each Defendant that bear or use the Plaintiff Mark in their inventory or control, and

                to return those goods to the Plaintiff.

         (vi) Issue an Order that requires Defendants to clarify any misleading impressions the
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                  public may have about their products' nature, characteristics, or qualities. This

                  includes placing corrective advertising and providing written notice to the public.

         (vii) Issue an Order requiring Defendants to pay Plaintiff all profits and damages from their

                  trademark counterfeiting, infringement, and unfair competition. The award should

                  be tripled under 15 U.S.C. § 1117, or, at Plaintiff's choice regarding Count I,

                  Plaintiff should receive statutory damages from each Defendant, with amounts

                  reaching up to two million dollars ($2,000,000.00) for each counterfeit trademark

                  used and product sold, as specified by 15 U.S.C. § 1117(c)(2) of the Lanham Act.

         (viii)   Grant an award to Plaintiff for costs, reasonable attorney's fees, and investigative

                  fees related to this action, as outlined in 15 U.S.C. § 1117 (a) and (b), including

                  expenses for corrective advertising.

         (ix) Issue an order that, upon Plaintiff's request, requires Defendants and all related

                  financial institutions, payment processors, banks, escrow services, and e-commerce

                  platforms   (including    Amazon.com,      Temu.com,      Etsy.com,    Alibaba.com,

                  AliExpress.us, Wish.com, Ebay.com, Shein.com, and Walmart.com) to identify and

                  freeze all funds—up to the total amount of the judgment—in all accounts linked to

                  the Seller IDs or any other seller names used by Defendants, both now and in the

                  future. This includes any related accounts and those transferring funds into these

                  accounts, with the funds remaining frozen until they are paid to Plaintiff as part of

                  the monetary judgment.

         (x) Issue an award of pre-judgment interest on the judgment amount.

         (xi) Issue an Order for any further relief as the Court may deem proper.




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   Dated: November 1, 2024                   Respectfully submitted,

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                                             Darren Heitner, Esq.
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